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                            UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF OKLAHOMA


         UNITED STATES OF AMERICA                                                     NOTICE
                           vs.

                TARENCE D. McLANE                                          CASE NO. CR-20-14-F

IN CUSTODY
TYPE OF CASE:
          ☐ CIVIL     ☒ CRIMINAL

   TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

PLACE:                                                            ROOM NO.:
                                                                                 Courtroom No. 102
William J. Holloway Jr. United States Courthouse
200 N.W. 4th Street                                               DATE AND TIME:
Oklahoma City, OK 73102                                               Monday, February 3, 2020, at 3:00 p.m.

TYPE OF PROCEEDING:

         ARRAIGNMENT


           TAKE NOTICE that a proceeding in this case has been rescheduled as set forth below:

PLACE:                      DATE AND TIME PREVIOUSLY SCHEDULED:   RESCHEDULED DATE AND TIME:

William J. Holloway Jr.
United States Courthouse
200 N.W. 4th Street
Oklahoma City, OK 73102




                                                                  SUZANNE MITCHELL
                                                                  U.S. MAGISTRATE JUDGE

January 30, 2020                                                  s/Lesa Boles
Date                                                              (By) Deputy Clerk
